         Case 3:18-cv-00586-WKW-WC Document 1 Filed 06/18/18 Page 1 of 5



                     IN THE UNITED STATES DISTRICT CMJSC E1V EL
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION                  1oi8 JUN 18   A 11: 03
 HEATHER WEAVER,                              }                DEBRA P. -L:ACKETT, CLK
                                                                 U.S. D!STRICT CTi'JRT
                                              }                 Nil DOLE 2:TRjoi•
                                                                         r•        —
          PLAINTIFF,                          1
                                              }
 vs.                                          }             CIVIL ACTION NO.:

 GCA SERVICES GROUP,INC.,
                                              }
                                              }              3: i(2)--ckl- 5SLa -SPIA.3
                                              }
          DEFENDANT.                          }

                                       COMPLAINT
                             JURISDICTION AND VENUE
         1.    Jurisdiction is proper in this Court by virtue of28 U.S.C. §1332, diversity of

citizenship; and the amount in controversy exceeds $75,000.00, exclusive of interest and

costs.

         2.    Venue is appropriate in this Court since all activities made the subject of this

action originated and occurred within Lee County, Alabama.

                                           Parties

         3.    Plaintiff, Heather Weaver, is an adult resident of Lee County, Alabama.

         4.    Defendant GCA Services Group, Inc., is a business entity incorporated in

Delaware and with its principal place of business located at 1350 Euclid Avenue,

Cleveland, Ohio 44115.

                                            Facts

         5.    On or about February 20, 2017, Plaintiff, a Ph.D..Candidate and English

instructor at Auburn University, had finished teaching her first class for the day, and was


                                               1
       Case 3:18-cv-00586-WKW-WC Document 1 Filed 06/18/18 Page 2 of 5



walking from the 8th floor of the Haley Center to its 9th floor to make copies for her other

classes. When Plaintiff reached the landing between the floors, she stepped forward with

her right foot onto a floor which was so slick it caused her right foot to slide forward out

from underneath her and causing Plaintiff to fall on the stairs. Plaintiff landed on the right

side of her body, breaking both her right tibia and fibula as well as incurring bruising and

swelling all up and down her body, among other injuries.

      6.       After falling, Plaintiff was unable to move due to the intense pain she was

experiencing, and remained on the floor until the paramedics arrived.             When the

pararnedics arrived, they informed Plaintiff that the slickness of the floor made it too

dangerous for them to bring the stretcher into the stairwell, so they had no choice but to

put a stabilizing brace onto Plaintiffs foot and slowly carry her from the stairs to a floor

landing. Plaintiff was taken by ambulance to the hospital, wherein she was informed that

her injuries would require surgery.

      7.       Upon information and belief, GCA Services Group, Inc. ("GCA") is the

company contracted by Auburn University to provide maintenance, cleaning and other

janitorial services to its facilities, including the Haley Center.

      8.       Upon information and belief, as part of providing these services, GCA

stripped and/or waxed the stairs in the Haley Center in such a manner as to render them

unreasonably dangerous to walk upon.

      9.       GCA knew or, by the exercise of reasonable care, should have known of the

hazardous condition created by their stripping and/or waxing of the Haley Center's stairs,

which posed an unreasonable risk of harm to anyone who would walk upon them. GCA

                                               2
      Case 3:18-cv-00586-WKW-WC Document 1 Filed 06/18/18 Page 3 of 5



should have expected that anyone who walked upon the stairs would not discover or realize

the hazard or would fail to protect themselves against the danger. GCA failed to exercise

reasonable care to protect against this danger.

      10.     At all times pertinent hereto, GCA failed to exercise reasonable care to

inspect for hazardous conditions created when the stripped and/or waxed the stairs, or to

take adequate steps to remedy or warn people of such hazards.

      11.     The incident which caused Plaintiffs injuries could have been prevented

with the proper configuration, safety precautions, and/or warning of the dangerous

condition regarding the unreasonably slippery floor, and was of a type which would not

ordinarily occur in the absence of negligence or wantonness. Furthermore, the incident

which caused Plaintiffs injuries is not attributable to any negligence on Plaintiffs part.

      12.     As the direct and proximate result of GCA's negligence and/or wantonness

and its failure to remedy or warn of the above-described dangerous condition, Plaintiff

suffered significant injuries. Plaintiff suffered breaks to both her right tibia and fibula

which required three surgeries, hardware and a bone growth stimulator to repair. She

continues to wear an anlde brace for stability and it is necessary for her to take anti-

inflammatories daily. Plaintiff also suffered a torn rotator cuff to her right shoulder which

required surgery. Plaintiffis still in physical therapy for her shoulder. Plaintiffhas suffered

permanent injury, scarring, medical expenses, as well as pain and suffering and mental

anguish.

      13.     Plaintiff further alleges that GCA and its agents and/or employees were

negligent and/or wanton in failing to maintain the premises they serviced in a safe manner.

                                              3
      Case 3:18-cv-00586-WKW-WC Document 1 Filed 06/18/18 Page 4 of 5



GCA was aware or should have been aware that failing to provide a safe environment in

the Haley Center's stairways would present a dangerous condition to anyone who walked

upon them. As a proximate result of such conduct, Plaintiff suffered damages as set forth

above.

      14.     Plaintiff further avers that GCA and its agents and/or employees were

negligent and/or wanton in failing to make reasonable inspections and discover the

hazardous conditions which they created. GCA had an obligation to inspect for and

eliminate hazardous conditions which it created. As a proximate result of GCA's failure

to do so, Plaintiff suffered damages as set forth above.

                                                        et
                                                 GAYLE L         UGLAS       U012]
                                                 MARK R. ONEN[E             001]
                                                 Attorneys for Plaintiff

OfCounsel.•

HENINGER GARRISON DAVIS,LLC
2224 1ST Avenue North
Post Office Box 11310(35202)
Birmingham, Alabama 35203
205326.3336(phone)
205.326.3332 (facsimile)
gdouglashgdlawfirm.com
markahgdlawfirm.com


                                    JURY DEMAND

      Plaintiff demands trial by struck jury on all issues raised herein.


                                                 GAYLE         OUGLA        OU12]
                                                 Attorney for Plaintiff


                                             4
      Case 3:18-cv-00586-WKW-WC Document 1 Filed 06/18/18 Page 5 of 5



PLAINTIFF REQUESTS SERVICE BY CERTIFIED MAIL AS FOLLOWS:

Defendant's Registered Agent Address:

GCA Services Group, Inc.
c/o CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104
